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            EXHIBIT 1




            EXHIBIT 1
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                                                                              Registered Agent Solutions, Inc.
                                                                                                                                                      Corporate Mailing Address
                                                                                                                                                      1701 Directors Blvd.
                                                                                                                                                      Suite 300
                                                                                                                                                      Austin, TX 78744
                                                                                                                                                      Phone: (888) 705-RASi (7274)



                                                SERVICE OF PROCESS RECEIPT
2021-12-21
Michael Passanisi
                                                                                                                      NOTICE OF CONFIDENTIALITY
TriMark USA, LLC
                                                                                                                      This notice and the information it contains are
9 Hampshire Street                                                                                                    intended to be a confidential communication only to
Mansfield, MA 02048 USA                                                                                               the individual and/or entity to whom it is addressed.
                                                                                                                      If you have received this notice in error, immediately
                                                                                                                      call our SOP Department at (888) 705-7274.


RE: TriMark USA, LLC

This receipt is to inform you that Registered Agent Solutions, Inc. has received a Service of Process on behalf of the
above-referenced entity as your registered agent and is hereby forwarding the attached document(s) for your immediate
review. A summary of the service is shown below; however, it is important that you review the attached document(s) in
their entirety for complete and detailed information.
For additional information and instruction, contact the document issuer: GEONETTE & FRUCHT, LLP


   SERVICE INFORMATION                                                                                   RASi REFERENCE INFORMATION
   Service Date:                        2021-12-21                                                       Service No.:                         0196190
   Service Time:                        1:40 PM PST                                                      RASi Office:                         California
   Service Method:                      Process Server                                                   Rec. Int. Id.:                       EMR

   CASE INFORMATION                                                                                      ANSWER / APPEARANCE INFORMATION
   Case Number:                         CGC-21-593034                30 days                                                                             (Be sure to review the document(s)
                                                                                                                                                         for any required response dates)
   File Date:                           12/16/2021
   Jurisdiction:                        SUPERIOR COURT, SAN FRANCISCO COUNTY, CALIFORNIA
   Case Title:                          CHARLES KELLEY V. TRIMARK USA, LLC, ET AL.

   AGENCY / PLAINTIFF INFORMATION
   Firm/Issuing Agent:                  GEONETTE & FRUCHT, LLP
   Attorney/Contact:                    KENNETH N. FRUCHT
   Location:                            California
   Telephone No.:                       510-254-3777

   DOCUMENT(S) RECEIVED & ATTACHED
   Complaint
   Summons
   Notice: TO PLAINTIFF
   Demand for Jury Trial
   OtherDetail: CIVIL CASE COVER SHEET

   ADDITIONAL NOTES
   DOCUMENT MAY HAVE SOME MISSING INFORMATION. PLEASE CONTACT THE ISSUER FOR MORE
   INFORMATION




   Questions or Comments... Should you have any questions or need additional assistance, please contact the SOP Department at (888) 705-7274.
   You have been notified of this Service of Process by Insta-SOP Delivery, a secure email transmission. The transmitted documents have also been uploaded to your Corpliance account. RASi
   offers additional methods of notification including Telephone Notification and FedEx Delivery. If you would like to update your account's notification preferences, please log into your Corpliance
   account at www.rasi.com.


                                                                          Thank you for your continued business!
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